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 8                                   UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11
     BRANDYWINE COMMUNICATIONS
12   TECHNOLOGIES, LLC,
                                                          Case No. 3:12-cv-04855-JSW
13                      Plaintiff,
14                                                        [PROPOSED] ORDER OF DISMISSAL
            v.                                            WITH PREJUDICE
15
     DIGIUM, INC.,
16                                                        Hon. Jeffrey S. White
                        Defendant.
17

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19          On this day, Plaintiff Brandywine Communications Technologies, LLC (“Brandywine”)

20   and Defendant and Counterclaim-Plaintiff Digium, Inc. (“Digium”) announced to the Court that

21   they have settled Brandywine’s claims for relief against Digium and Digium’s counterclaims for

22   relief against Brandywine asserted in this case. Brandywine and Digium have therefore requested

23   that the Court dismiss Brandywine’s claims for relief against Digium and Digium’s counterclaims

24   for relief against Brandywine, with prejudice and with all attorneys’ fees, costs and expenses

25   taxed against the party incurring same. The Court, having considered this request, is of the

26   opinion that their request for dismissal should be granted.

27          IT IS THEREFORE ORDERED that Brandywine’s claims for relief against Digium and

28   Digium’s counterclaims for relief against Brandywine are dismissed with prejudice.           IT IS

     [PROPOSED] ORDER OF DISMISSAL WITH
                                                                                  CASE NO: 12-cv-04855
     PREJUDICE
                                                    -1-
       Case
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 1   FURTHER ORDERED that all attorneys’ fees, costs of court and expenses shall be borne by each
 2   party incurring the same.
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 4   IT IS SO ORDERED.
 5
     Dated:    December 12       , 2012
 6                                             Hon. Jeffrey S. White
 7                                             United States District Judge

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     [PROPOSED] ORDER OF DISMISSAL WITH
                                                                              CASE NO: 12-cv-04855
     PREJUDICE
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